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 8
                              UNITED STATES DISTRICT COURT
 9
10                                   DISTRICT OF ARIZONA

11   In Re Bard IVC Filters Products              No. MD-15-02641-PHX-DGC
     Liability Litigation
12                                                JOINT MOTION TO EXTEND
                                                  DEADLINES FOR EXPERT REPORTS
13                                                REGARDING PLAINTIFF TINLIN
                                                  PURSUANT TO CMO 39
14
                                                  (Assigned to the Honorable David G.
15                                                Campbell

16
           The parties, by and through their respective undersigned counsel, hereby submit
17
     this Joint Motion to Extend Deadlines for Expert Reports regarding Plaintiff Tinlin.
18
           The parties stipulate to extend the deadlines set forth in Case Management Order
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     39 (Doc. 12971) regarding the disclosure of case specific expert reports. Pursuant to this
20
     stipulation, the deadline for Plaintiff’s case specific expert report disclosure would be
21
     December 4, 2018. The deadline for Defendant’s case specific expert report disclosure
22
     would be January 4, 2019.
23
           RESPECTFULLY SUBMITTED this 16th day of November 2018.
24
                                              BEUS GILBERT PLLC
25
                                              By:/s/ Ramon Rossi Loepz
26                                                Mark S. O’Connor
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     Case 2:15-md-02641-DGC Document 13434 Filed 11/16/18 Page 2 of 3



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                                              Peripheral Vascular, Inc.
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     Case 2:15-md-02641-DGC Document 13434 Filed 11/16/18 Page 3 of 3



 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on this 16th day of November 2018, I electronically
 3   transmitted the attached document to the Clerk’s Office using the CM/ECF System for
 4   filing and transmittal of a Notice of Electronic Filing.
 5
                                                     /s/Marilyn B. Wass
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